Case 2:05-cr-20008-SH|\/| Document 30 Filed 06/13/05 Page 1 of 2 Page|D 31l

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IN THE UNITED STATES DISTRICT COURT
FOR THE W'ESTERN DISTRICT OF TENNESSEE 05 JUN 13 PH 5; 36
W'ESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,

vs. CR. NO. OB»ZOOOS-Ma

ALFONSO PEREZ HERNANDEZ,

-_/V-/-.z-»-..z-_._¢~_»~._/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Tbis cause came on for a report date on May 31, 2005. Defense
counsel requested a special setting for a change of plea.

The Court granted the request and set a change of plea hearing
for Wednesday, June 22, 2005 at 9:l5 a.m. The Court continued the
trial to the rotation docket beginning Tuesday, July 5, 2005 at
9:30 a.m. with a report date on Friday, June 24, 2005 at 2:00 p.m.

The period from May 31, 2005 tbrough. July 15, 2005 is
excludable under l8 U.S.C. § 3161(h)(8)(B)(iv} because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

rsJ/L

IT IS SO ORDERED this day of June, 2005.

_J/(///*'\/L_.`

SAMUEL H. MAYS, JR.
UNITED STATES DIS’I'RICT JUDGE

 

  
 

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This notice confirms a copy of the document docketed as number 30 in
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Honorable Samuel Mays
US DISTRICT COURT

